Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 1 of 11 PageID #:
                                    86671




                         EXHIBIT A
Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 2 of 11 PageID #:
                                    86672



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


  IN RE: COOK MEDICAL, INC., IVC
  FILTERS MARKETING, SALES PRACTICES
  AND PRODUCT LIABILITY LITIGATION
                                                        Case No. 1:14-ml-2570-RLY-TAB
  This Document Relates to:                             MDL No. 2570
  46 Cases Listed in Exhibit A



                       ATTORNEY DECLARATION OF ELDIN HASIC

         I, Eldin Hasic, hereby state and affirm:

          1.    I submit this declaration in support of the Cook Defendants' Omnibus Motion for

  Summary Judgment on grounds of miscategorization and "no injury" in the 46 cases listed in

  Exhibit A.

         2.      Since September 2015, I have been an associate in the product liability defense

  practice ofFaegre Baker Daniels LLP.

         3.      I am one of the attorneys representing the Cook Defendants in the MDL before

  this Court.

         4.      I helped draft Cook's briefing and proposals regarding categorization and am

  intimately familiar with the Court's case categorization orders and requirements. Over the past

  eight months, I have personally reviewed several hundred case categorization forms submitted

  by Plaintiffs in this MDL.

          5.     Prior to the filing of this motion, I personally reviewed the case categorizations

  forms and accompanying medical records submitted by the 46 Plaintiffs listed in Exhibit A.
Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 3 of 11 PageID #:
                                    86673



          6.        In each of the 46 Plaintiffs' cases listed in Exhibit A, the records accompanying

  the categorization that the Plaintiff submitted state that the Plaintiffs either ( 1) designated their

  cases as "tilt only" cases, or (2) accompanied their categorization forms with medical records

  that show only that the Plaintiff received a filter but do identify any injury; or (3) accompanied

  their categorization forms with medical records showing that their filters have been successfully

  removed through routine percutaneous retrievals without complications. These summ ary

  descriptions of the relevant portion of the records are accurately reflected in the descriptions

  provided in Exhibit A.

          7.        Ben Broadhead, another associate at the firm, also reviewed the cases and

  confirmed the accuracy of the information presented in Exhibit A.

          I declare, under penalty of perjury, that the foregoing is true and correct.




  Executed on the     f5 t      day of October 2019.




                                                           Eldin Hasic




                                                       2
  US.124894622.0l
                       Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 4 of 11 PageID #:
                                                           86674


                                                  EXHIBIT A – NO INJURY CASES
                                              (LISTED IN ORDER OF CAUSE NUMBER)

                                                                              Case Type
                              Cause                       Home    Highest
No.       Plaintiff                        Lead Counsel                       Grounds for             Description in Record
                             Number                       State   Category
                                                                                Motion
1     Ardrey, Joyce       1:16-cv-01122   SEEGER WEISS     PA        6        Successfully    "Satisfactory removal of of Cook Select
                                          LLP                                Removed Filter   [sic] IVC filter following normal
                                                                                              cavagram. No intracaval or trapped
                                                                                              thrombus seen."
2     Burroughs, Louis    1:16-cv-01524   THE MILLER       FL        7          Tilt Only     "On evaluation it is apparent the filter is
      & Sharon                            FIRM LLC                                            tiled . . . . IVC filter removal is not
                                                                                              indicated at this time."

3     Jordan, Lena        1:16-cv-01731   FEARS            MS        6       Placement Only   Placement record only submitted
                                          NACHAWATI,
                                          PLLC
4     Anthony,            1:16-cv-01775   FEARS            MS        6       Placement Only   Placement record only submitted.
      Charlene                            NACHAWATI,
                                          PLLC
5     Madison, Charles    1:16-cv-01985   MATTHEWS &       AR        7        Successfully    Short-term Cook filter placed and
      Edward                              ASSOCIATES                         Removed Filter   removed without complication; Bard
                                                                                              filter subsequently implanted; No
                                                                                              indication in records submitted of any
                                                                                              filter complication occurring with Cook
                                                                                              filter.
6     Bishop-Jones,       1:16-cv-02272   THE              MI        6        Successfully    "Filter tilted."; "Technically successful
      Vickie                              GALLAGHER                          Removed Filter   inferior vena cava filter removal, as
                                          LAW FIRM PLLC                        (Tilt Only)    described above."
7     Wilson, Samuel      1:16-cv-02405   FARR, FARR,      AZ        6          Tilt Only     "The filter was tilted, but no other
      A. & Lois Ann                       EMERICH,                                            problem identified on April 29 CT scan,
                                          HACKETT,                                            below the level of the renal veins."
                                          CARR &
                                          HOLMES P.A.
                       Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 5 of 11 PageID #:
                                                           86675



                                                                              Case Type
                              Cause                       Home    Highest
No.       Plaintiff                        Lead Counsel                       Grounds for              Description in Record
                             Number                       State   Category
                                                                                Motion
8     Oswalt, Margaret    1:16-cv-02727   PAGLIALUNGA &    MD         6         Tilt Only     Imaging only submitted; CCF form
      & Kenneth                           HARRIS, PS                                          states only claim is tilt
9     Anderson, Vicki     1:16-cv-02796   LIEFF            NJ         6         Tilt Only     "This may be slightly tilted. This would
      Lynn                                CABRASER                                            have to be confirmed with an inferior
                                          HEIMANN &                                           vena cavagram. It appears to be
                                          BERNSTEIN,                                          slightly tilted to the right."
                                          LLP
10    Monroe,             1:16-cv-03165   AMIR M.          TN         6         Tilt Only     "An inferior vena cava filter is present
      Benjamin                            KAHANA, P.C.                                        and slightly tilted."
11    Reiss, Cynthia      1:17-cv-00016   SANDERS          MI         7      Placement Only   Placement Records Only
                                          VIENER
                                          GROSSMAN,
                                          LLP
12    Walton, Angela &    1:17-cv-00063   FLINT LAW        MO         7         Tilt Only     "The patient has an IVC filter on the
      Vincent                             FIRM, LLC                                           right is tilted to the right the position is
                                                                                              uncertain."
13    Boatwright-         1:17-cv-01449   LOPEZ            TN         7         Tilt Only     Only imaging submitted. CCF states:
      Woods, Mary                         MCHUGH LLP                                          "The filter has tilted within the vena
                                                                                              cava as confirmed by Expert's review
                                                                                              of March 2016 imaging. Plaintiff now
                                                                                              suffers from constant stress and
                                                                                              anxiety about the state of her health to
                                                                                              the retained filter. . . ."




                                                                -2-
                        Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 6 of 11 PageID #:
                                                            86676



                                                                                Case Type
                               Cause                        Home    Highest
No.       Plaintiff                          Lead Counsel                       Grounds for             Description in Record
                              Number                        State   Category
                                                                                  Motion
14    Carroll, Harold      1:17-cv-01464    BARON & BUDD,    MD         7       Successfully    "We did not find recurrent thrombosis.
                                            P.C.                               Removed Filter   There was a fair amount of fibrous
                                                                                                tissue in the cone of the filter,
                                                                                                presumably indicating there may have
                                                                                                been a clot near the filter in the past. . .
                                                                                                . After removal of the filter, we
                                                                                                examined the filter and found a fair
                                                                                                amount of fibrous tissue in the cone of
                                                                                                the filter, but all 4 arms of the filter
                                                                                                including the hooks were intact, the
                                                                                                filter being fully retrieved."
15    Miller, John         1:17-cv-01981    MATTHEWS &       IA         6         Tilt Only     Placement record only. Record notes:
      George                                ASSOCIATES                                          "Once the filter was released, there
                                                                                                was slight 10-degree tilt, but good wall
                                                                                                apposition was noted."
16    Gruber, JC           1:17-cv-02062    MATTHEWS &       ID         6         Tilt Only     Only placement record and patient
                                            ASSOCIATES                                          card submitted. Record notes: There is
                                                                                                a very slight tilt to the filter, but the
                                                                                                hook of the filter is still clearly
                                                                                                accessible, away from the wall of the
                                                                                                inferior vena cave and should be
                                                                                                amenable for removal."
17    Fuller, Barbara      1:17-cv--02127   MURPHY LAW       WY         7      Placement Only   CCF claim recurrent PE but PE record
      Sue                                   FIRM, LLC                                           is the same time frame as the
                                                                                                placement of the filter (Hospitalized
                                                                                                3.17.15 to 3.19.15; PE noted on
                                                                                                3.18.15 record)
18    McGee, Michelle      1:17-cv-02221    MOTLEY RICE      TX         6       Successfully    "Malpositioned previously placed over
      D.                                    LLC                                Removed Filter   the intrahepatic IVC was successfully
                                                                                                captured and removed intact."




                                                                  -3-
                         Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 7 of 11 PageID #:
                                                             86677



                                                                                 Case Type
                                Cause                        Home    Highest
No.       Plaintiff                          Lead Counsel                        Grounds for             Description in Record
                               Number                        State   Category
                                                                                   Motion
19    Stevenson, Alex       1:17-cv-02454   VERHINE &         MS         6         Tilt Only     "There was some right lateral tilt of the
      Paul Jr.                              VERHINE PLLC                                         superior margin of the filter."
      [ESTATE]
20    Jackson, Larry        1:17-cv-02697   RICHARD J.        SC         6         Tilt Only     "[T]he filter is noted to be tilted within
                                            PLEZIA &                                             the inferior vena cava, still considered
                                            ASSOCIATES                                           effective and in satisfactory position."

21    Jacobs, Victoria      1:17-cv-02815   MATTHEWS &        MI         6       Successfully    "Successful retrieval of an IVC filter
      [ESTATE]                              ASSOCIATES                          Removed Filter   with replacement of a new jugular IVC
                                                                                                 filter in an infrarenal location."

22    Banegas, Ever         1:17-cv-03126   MATTHEWS &        NY         6       Successfully    "The filter was tilted approximately 29
      Jr.                                   ASSOCIATES                          Removed Filter   [degrees] to the right. Following
                                                                                  (Tilt Only)    retrieval, there was no contrast
                                                                                                 extravasation."
23    Young, Robin S.       1:17-cv-03243   MATTHEWS &        MO         7       Successfully    "Successful IVC removal"; Record
                                            ASSOCIATES                          Removed Filter   suggests that filter may have
                                                                                                 penetrated the IVC, but did not
                                                                                                 perforate.
24    Ellis, Randy          1:17-cv-03314   RICHARD J.        MA         6      Placement Only    "An IVC filter is seen with its tip below
                                            PLEZIA &                                             the level of the renal veins, unchanged
                                            ASSOCIATES                                           in position."
25    Maddelein,            1:17-cv-03487   MARC J. BERN &    WY         7      Placement Only
      Susan                                 PARTNERS, LLP                                        Placement Records Only




                                                                   -4-
                         Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 8 of 11 PageID #:
                                                             86678



                                                                                 Case Type
                                Cause                        Home    Highest
No.       Plaintiff                          Lead Counsel                        Grounds for              Description in Record
                               Number                        State   Category
                                                                                   Motion
26    Harvey, Stanley       1:17-cv-03854   MATTHEWS &        OR         6         Tilt Only     "The IVC filter is tiled toward the
                                            ASSOCIATES                                           midline with the apex of the IVC
                                                                                                 touching the medial wall of the IVC
                                                                                                 slightly without evidence of perforation
                                                                                                 or change in the outline contour of the
                                                                                                 IVC."; Category 4 also claimed in form
                                                                                                 but no record submitted in support of
                                                                                                 that claim

27    Bender, Judy E.       1:17-cv-04085   MATTHEWS &        UT         6         Tilt Only     "IVC filter is in place. . . . The IVC filter
                                            ASSOCIATES                                           itself appears intact. . . . The legs of
                                                                                                 the IVC filter appear to extend beyond
                                                                                                 the margins of the IVC, however this is
                                                                                                 a common finding after IVC placement
                                                                                                 and does not necessarily imply prior
                                                                                                 perforation as the walls of the IVC may
                                                                                                 tent with IVC filter in place."
28    Jessen, Kerry         1:17-cv-04316   THE MOODY         MN         6         Tilt Only     Only imaging submitted. CCF forms
      Duane and Kerry                       LAW FIRM, INC.                                       states Plaintiff's filter was tilted and
      Lee                                                                                        notes "probable perforation"; No record
                                                                                                 confirming perforation submitted

29    Furney, Sherri        1:17-cv-04324   CURTIS LAW        OH         7         Tilt Only     "[T]he filter is tilted towards the lateral
                                            GROUP                                                wall but there does not appear to be
                                                                                                 any fracture or migration."; CCF claims
                                                                                                 non-routine retrieval method but no
                                                                                                 record of retrieval submitted with CCF

30    Aultman, Ella F.      1:17-cv-04455   MATTHEWS &        CA         7      Placement Only    Filter is "in proper position. The wires
                                            ASSOCIATES                                            tent the outer wall of the inferior vena
                                                                                                                    cava."




                                                                   -5-
                        Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 9 of 11 PageID #:
                                                            86679



                                                                               Case Type
                               Cause                       Home    Highest
No.       Plaintiff                         Lead Counsel                       Grounds for             Description in Record
                              Number                       State   Category
                                                                                 Motion
31    Glaude, Katrina      1:17-cv-04498   MATTHEWS &       MS         6         Tilt Only     Only placement record and patient
                                           ASSOCIATES                                          card submitted. Record notes: "The
                                                                                               filter is tilted superomedially by 8
                                                                                               degrees. There is no strut bending or
                                                                                               fracture. There is no IVC stenosis."
32    Cota, Marc C.        1:18-cv-01114   MATTHEWS &       NV         6         Tilt Only     "IVC filter is in place. . . . There is no
                                           ASSOCIATES                                          evidence of perforation. No evidence of
                                                                                               fracture. IVC is grossly normal in
                                                                                               caliber."
33    Furnas, James        1:18-cv-01519   NIEMEYER,        MO         7      Placement Only   Placement Record Only
      and Carol                            GREBEL &
                                           KRUSE, LLC
34    Newhouse,            1:18-cv-01662   BURNETT LAW      VA         7      Placement Only
      Robin and                            FIRM
      Frederick, Sr.                                                                           Placement Records Only
35    O'Malley,            1:18-cv-01718   FEARS            FL         6         Tilt Only     "There is an IVC filter in place. On the
      Heather                              NACHAWATI,                                          lateral view, there is anterior tilting of
                                           PLLC                                                the IVC filter and the exact location of
                                                                                               the tip cannot be exactly determined.
                                                                                               There is no evidence of surrounding
                                                                                               fluid to suggest perforation."
36    Bernero, Joseph      1:18-cv-01726   BLANKENSHIP      TX         6         Tilt Only     "An infrarenal filter demonstrating
                                           LAW FIRM                                            approximately 9 [degrees] ventral tilt
                                                                                               but the apex of the filter does not touch
                                                                                               the IVC wall."
37    Reed, Sebrina        1:18-cv-01942   FERRER           WV         6         Tilt Only     "IVC filter is tilted medially with tip
                                           POIROT &                                            abutting the IVC wall. IVC filter tip is
                                           WANSBROUGH                                          just below level of renal veins."




                                                                 -6-
                       Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 10 of 11 PageID #:
                                                            86680



                                                                                Case Type
                                Cause                       Home    Highest
No.        Plaintiff                         Lead Counsel                       Grounds for             Description in Record
                               Number                       State   Category
                                                                                  Motion
38    Doane, Dwight         1:18-cv-02735   JOHNSON LAW      NY         6         Tilt Only     "The proximal tip of the IVC filter is
                                            GROUP                                               slightly angulated medially by
                                                                                                approximately 12 degrees and slightly
                                                                                                angulated anteriorly by approximately
                                                                                                20 degrees on the lateral review."
39    County, Isaih         1:18-cv-03100   THE              TX         6         Tilt Only     "[T]here is an IVC filter at L3-L4 level
      [ESTATE OF]                           GALLAGHER                                           which is tilted at approximately 30
                                            LAW FIRM PLLC                                       degrees to the right with the apex of
                                                                                                the filter pointing towards the right
                                                                                                upper abdomen." No claims made
                                                                                                regarding PE in the case
                                                                                                categorization form; they would be
                                                                                                time-barred if raised.
40    Mosier, Roy G.        1:18-cv-03274   KASDAN           MO         7       Successfully    Filter successfully retrieved; no
                                            LIPPSMITH                          Removed Filter   indication of complication occuring
                                            WEBER                                               during in vivo time
                                            TURNER LLP
41    Schwenk, Phillip      1:18-cv-03502   MARTIN           MN         6         Tilt Only     "IVC filter in place. The apex is tilted
                                            BAUGHMAN,                                           towards the right and up against the
                                            PLLC                                                right IVC wall."
42    Puffer, Jill M. and   1:19-cv-00118   FEARS            UT         6         Tilt Only     "Tip of IVC filter projects toward the
      Robert                                NACHAWATI,                                          right within the IVC at the level of the
                                            PLLC                                                renal veins."
43    Hall, Cynthia         1:19-cv-00136   MCGLYNN,         CA         7      Placement Only   Record merely states "follow up for
                                            GLISSON &                                           DVT/Pulmonary Embolism patient was
                                            MOUTON                                              in the emergency room in 9/2016"; filter
                                                                                                was implanted during hospitalization in
                                                                                                September 2016; no indication that
                                                                                                post-placement DVT/PE occurred in
                                                                                                records submitted




                                                                  -7-
                        Case 1:14-ml-02570-RLY-TAB Document 11924-1 Filed 10/01/19 Page 11 of 11 PageID #:
                                                             86681



                                                                              Case Type
                               Cause                       Home    Highest
No.       Plaintiff                         Lead Counsel                      Grounds for           Description in Record
                              Number                       State   Category
                                                                                Motion
44    Gillen, Theresa      1:19-cv-02288   THE NATIONS      CA         6        Tilt Only   "There is an inferior cava filter in place.
      Lynne                                LAW FIRM                                         This is in good position. There is
                                                                                            posterior tilting of the filter. The apex of
                                                                                            the filter is touching the posterior wall
                                                                                            of the inferior vena cava. The filter is
                                                                                            intact without evidence of fracture."
45    Alto, Rusty          1:19-cv-02300   WAGSTAFF &       OR         6        Tilt Only   "Significant leftward tilt of retrievable
                                           CARTMELL, LLP                                    Cook Tulip-type IVC filter."

46    Wrenn, Robin         1:19-cv-50011   FERRER           OK         7        Tilt Only   "A metallic filter in the inferior vena
                                           POIROT &                                         cava has a 20 degree dorsal tilt
                                           WANSBROUGH                                       resulting in the apex abutting the
                                                                                            posterior wall of the inferior vena
                                                                                            cava."




                                                                 -8-
